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AO 440 (Rev. 06/12) Summons in a Civil Action


                                     UNITED STATES DISTRICT COURT
                                                              for the
                                                  Eastern District
                                                __________ Districtofof
                                                                     New   York
                                                                        __________

                                                         )
                                                         )
                                                         )
                                                         )
                    Plaintiff(s)                         )
                                                         )
                         v.
                                                         )
                                                                        Civil Action No.    23-cv-9185
WILLIAMSBURG VEGAN CORP. (D/B/A THE VSPOT ORGANIC),
WILLIAMSBURG VEGAN CORP. (D/B/A ST. MARK'S COMEDY CLUB), )
THE V-SPOT RESTAURANT, LLC (D/B/A THE VSPOT), VEGAN      )
WHOLESALE FOODS CORP. (D/B/A THE VSPOT),
DANIEL CARABANO, ALEXIS CARABANO, and STEVEN SIMICICH,   )
                                                         )
                   Defendant(s)                          )

                                                SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address)




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are:




       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                           CLERK OF COURT


Date:       12/15/2023
                                                                                     Signature of Clerk or Deputy Clerk
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 Civil Action No.

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

           This summons for (name of individual and title, if any)
 was received by me on (date)                                         .

               I personally served the summons on the individual at (place)
                                                                                on (date)                             ; or

               I left the summons at the individual’s residence or usual place of abode with (name)
                                                                 , a person of suitable age and discretion who resides there,
           on (date)                               , and mailed a copy to the individual’s last known address; or

               I served the summons on (name of individual)                                                                  , who is
            designated by law to accept service of process on behalf of (name of organization)
                                                                                on (date)                             ; or

               I returned the summons unexecuted because                                                                        ; or

               Other (specify):
                                                                                                                                        .


           My fees are $                           for travel and $                  for services, for a total of $                     .


           I declare under penalty of perjury that this information is true.


 Date:
                                                                                            Server’s signature



                                                                                        Printed name and title




                                                                                            Server’s address

 Additional information regarding attempted service, etc:
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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK
-------------------------------------------------------X
NAHUEL DAVID MEDIZA and TOMAS
ISAIAS MEDIZA, individually and on behalf
of others similarly situated,                              Index No.

                                                           RIDER TO REQUEST FOR
                                                           SUMMONS
Plaintiffs,

-against-

WILLIAMSBURG VEGAN CORP. (D/B/A
THE VSPOT ORGANIC), WILLIAMSBURG
VEGAN CORP. (D/B/A ST. MARK'S
COMEDY CLUB), THE V-SPOT
RESTAURANT, LLC (D/B/A THE VSPOT),
VEGAN WHOLESALE FOODS CORP.
(D/B/A THE VSPOT), DANIEL
CARABANO, ALEXIS CARABANO, and
STEVEN SIMICICH,


Defendants.

-------------------------------------------------------X

Williamsburg Vegan Corp. (d/b/a The VSPOT Organic)
12 Saint Mark's Place
New York, NY 10003

Williamsburg Vegan Corp. (d/b/a St. Mark's Comedy Club)
12 Saint Mark's Place,
New York, NY 10003

The V-Spot Restaurant, LLC (d/b/a The VSPOT)
156 5th Ave
Brooklyn, NY 11217

Vegan Wholesale Foods Corp. (d/b/a The VSPOT)
156 5th Ave
Brooklyn, NY 11217

Daniel Carabano
c/o The VSPOT
156 5th Ave
Brooklyn, NY 11217
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Alexis Carabano
c/o The VSPOT
156 5th Ave
Brooklyn, NY 11217

Steven Simicich
c/o The VSPOT
156 5th Ave
Brooklyn, NY 11217
